       Case 2:11-cr-00148-MCE Document 245 Filed 01/06/14 Page 1 of 1


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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 2:11-cr-0148 KJM
12                      Plaintiff,
13          v.                                         ORDER
14   TOM TRAN,
15                      Defendant.
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17          This matter is before the court on the Order to Show Cause issued on November 5, 2013.

18   (ECF 240.) The court has received a response and supplemental response from defense counsel.

19   The court notes that counsel has accepted responsibility but requested that the costs for the

20   interpreter incurred in connection with the November 6, 2013 calendar not be imposed. Upon

21   careful consideration, and having conferred with the court’s interpreter, the court declines to

22   impose costs at this time, while reserving that right for any future repeat violations. Good cause

23   appearing, the Order to Show Cause is DISCHARGED.

24          Dated: January 3, 2014.

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                                                    UNITED STATES DISTRICT JUDGE
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